Case 1:18-cv-01236-WSD Document 1-2 Filed 03/23/18 Page 1 of 3




                      EXHIBIT B
      Case 1:18-cv-01236-WSD Document 1-2 Filed 03/23/18 Page 2 of 3




                                                                                                        Reed 9mlth rLP
                                                                                                 10 South Wacker Drive
                                                                                                Chlcago, lL 60808"7507
Steven A. Miller                                                                                   Tel +1 312 207 1000
Dlrect Phone: +1 312207 3857                                                                       Fax +1 312 207 6400
                                                                                                         reedsmlth.com
Emall: samlller@reedsmith.com



    March 30,2016

                                                        Robert S. Mathews
    Alexander A. Baehr
                                                        President & CEO
    Senior Vice President and General Counsel
                                                        Colliers Intemational    -   Atlanta, LLC
    Colliers International
                                                         1230 Peachtree Street NE, Suite 800
    601 Union Street, Suite 4800
                                                        Atlanta, GA 30309
    Seattle, WA 98101

    Colliers Intemational - Atlanta, LLC
    C/O Registered Agent
    Colporation S ervlce ComPanY
    40 i"schnolsgy Pkw)4 $.oufh, #300
    Norcross,   GA   30092

                                                                  Preservation Hold Notice
            Re: Confidential - Forbearance Agreement and Evidence

    Gentlemen:
                                                                      ('Mattress' fim") in connection
             This law firm represents Mattrcss Finn Holding Cory.
                                               to orr client;s attentiotr  lhat may srl-e lisg to potential
    with certain matters, Information has some
    litieation asainsr c"iii;;; i;;rc*ationar, corliers  Intemational     -  Atlanta, LLC (collectively,
    *Ciliiers") and others smployed by Cplliers'
                                                     you to share informatiotl, pursuant to Federal Rule
              Mattress Firm is willing to meet with
                                                                         filing litigatiol .qgainst Colliers
     of Evidence 40A, regarding ttis matter and to forbear from
                                                           and othsts ernplored by Colllars; for * peliud
     International, Cotuers Interiatisnal - Atlantn, LL-C,
                                                                   h4attisss'Firin.seekl-Frompt executior
    .not to.:ex6eed 120 days. i"i*tfrung" for eaid forbesraflpe,
                                                                           eollieis to all porential rocords
     of the artach"a ao",.,iiini;;;;;"fi* hord notica tg..be sgnt by
     custodians ernployea ly-unu una.t the control of
                                                         collisrs lnteruatignal and colliers'Intorngtional
     - ;i*i.,-r}fi      w. ,niirii*qrir. u ,opy  of each preserlation hold notipe as a conditlqn f9r the
     forbearance agreement containcd in this    letter'           L

                                                                      the title of Senior Vice President,
             Fulther, effective immecliately, Alex f)eitch, who holds
     CotgersrAlirnti    i*   io"g.r- auttroiiz.a to represent,Mattress Finn ,in 6ny ongoin-g matters
     il;ilil*rii**       "; irtr"nllr slTpyi*, lligr Trail or anv other related sndtv' We attach
                         r,*,
     an agree.nent dated #;;tye *:l
                                                *tri"tr cotliers is currently aeting as.broker in fhe'sale
     iltil;;; #;n of*he ro"atioiu iet forth inwe the Agreeme$t. Becnus€ Matt{esn Firm does not wish
     to disiupt th*t cbntempini.a ,tun.u.tion,       e*p."t olher Collieros"rspresentatives to fulfill all
                                                                    a successful closing'
     i.rponriUifi*s under tiie Agreement to bring that matter to
             Mattress Firm reserves all other rights'



                                                                          us-ACTlVE.1 263445d8. 1-ARTODO 03/31'2016 l:03 PM
  Case 1:18-cv-01236-WSD Document 1-2 Filed 03/23/18 Page 3 of 3




       please call me at312-207-3857 to further discuss this matter.




                                       Very truly yours,


                                    /.'t
                                        Steven A.   Miller

Enclosures (2)




                                               -2-
